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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                                      Case No.: 1:15-cv-24547-UU
 LUIS A. ORTIZ, et al.,

         Plaintiffs,
 v.

 VALLEYCREST LANDSCAPE
 MAINTENANCE, INC.,

       Defendant.
 ________________________________

           NOTICE OF COURT PRACTICE UPON NOTICE OF SETTLEMENT

         THIS CAUSE is before the Court upon information that this matter has been settled.

         THE PARTIES are hereby notified that all papers related to the settlement reached by the

 parties, including any order of dismissal stating specific terms and conditions, must be received

 by this Court by April 21, 2016. If such papers are not filed by this deadline, this matter will be

 DISMISSED without further notice. Within sixty days of such an order of dismissal, either party

 may petition the court to have the case reinstated after showing good cause as to why settlement

 was not in fact consummated.

         DONE AND ORDERED in Chambers at Miami, Florida, this _25th_ day of March,
 2016.

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                                                      URSULA UNGARO
                                                      UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record
